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3
1 IN THE UNITED STATES DISTRICT COURT 1 S T I P U L A T I 0 N S
2 FOR THE NORTHERN DISTRICT OF OKLAHOMA 2 IT IS HEREBY STIPULATED AND AGREED by and between
3 the parties hereto that the notice for the taking of
1) MICHELLE ERNST as Personal )
4 Representative of the Estate ) 4 the deposition is waived and that the same.may be
of DAVID MICHAEL ERNST, )
5 deceased; ) 5 taken at this time and place`
)
6 Plaintiff, ) 6 IT IS FURTHER STIPULATED AND AGREED that all
)
7 vs. ) No. 14-CV~504-GKF-PJC 7 objections, except as to the form of the question,
J . n
8 1) CREEK COUNTY PUBLIC ) 8 are reserved to the time of trial, with the same
FACI`LITIES` AUTHORITY, )
9 2) ADVANCED\CORRECTIONAL ) 9 force and effect as if made at the taking of
HEALTHCARE, INC!, ` )
10 ) 10 the deposition.
Defendants. ) '
ll ll
12 12
13 13
14 >\‘ *- sr ~)= * 14
DEPOSITI'ON QF KELLY BIRC»H\
15 TAKEN ON BEHALF OF THE PLAINTIFF 15
AT 404 E. DEWEY AVENUE, SAPULPA, OKLAHOMA
16 COMMENOING AT 8:55 A.M. 161
ON NOVEMBER 18, 2015 `
17 PURSUANT TO THE STIPULATIONS OF`THE PARTIES 17
~)r * ~Ir ~k 91
18 18
19 \`19
20 20
21 21
ROBERTA JOHNSON REPORTING SERVICES
22 P`.D. BOX 457 22
SALINA, OKLAHOMA 74365
23 (`916`) 520-1506 23
robertaljohnson@aol.com
24 24
25 REPORTED BY: ROBERTA L. JOHNSON, CSR, RBR 25
4
l APPEAR`ANCES 1 INDEX
2 2 PAGE
3 FOR`THE PLAINTIFF: 3 WITNESS:
4 MR. MICKY WALSH 4 KELLY BIRCH
BEELER, WALSH & WALSH Direct Examidation by Mr. Walsh., ............ 5
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DKIahoma City, Oklahoma 73116
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7 ‘ 7 CORRECTIONS PAGE............¢.;.... ...... . . 136
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8 STINNETT LAW 8 REPORTER’S CERTIFICATE”.......;..,.. .... ..... , 137
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23 23
24 24 Exhlblt 4
25 25 ‘
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5 7
1 KELLY BIRCH l cost for the individual inmates.
2 after first being duly sworn to tell the truth, the 2 Q. And has the jail cost gone up for Creek
3 whole truth, and nothing but the truth, testified as 3 County?
4 follows: 4 A. lt has. Over the last few years, it‘s gone
5 DIRECT EXAMINATION 5 up, not substantially. I mean, it's been within ~* it
6 BY MR. WALSH: 6 hadn’t gone up more than a dollar over the ~- I mean,
7 Q. Would you state your full name, please? 7 each year. It's going to be less than a dollar that
8 A. Kelly, K-E-L~L-Y, Gene, G-E-N-E, Birch, 8 it goes up.
9 B~I-R-C-H. 9 Q. And what is the price per inmate at this
10 Q. How are you employed? 10 point?
11 A. I'm employed with the Creek County Sheriff's 11 A. Currently it's 28.37 per day.
12 OEfice. 12 Q. And who is paying the 28.37 per day?
13 Q. In what oapacity? 13 A. That is the inmate's responsibility. That's
14 A. I’m the jail administrator. 14 on their fines and costs, The Court assesses that.
15 Q. How long have you served as the jail 15 Q. You also house inmates for other police
16 administrator? 16 organizations. You have federal inmates?
17 A. Six years, 1 believe. 17 A. We have federal inmates and DOC inmates as
18 Q. Tell me what your day-to-day job duties are 19 well. y
19 as jail administrator. 19 Q. Who pays for the DOC inmates?
20 A. 0verseeing the daily operations of the jail 20 A. The Department of Corrections does
21 facility, the budget, the financials, things such as 21 Q. And for the federal inmates?
22 that. 22 A. The U.S. Marshal Service does
23 Q. You say the ~» the day-to-day activities, 23 Q. What is the charge for the DOC inmates?
24 what does that entail? 24 A. lt is 27 -- I believe it's a flat rate of 27
25 A. The daily operations, the staffing; 25 per day.
6 8
1 overseeing, making sure that -_ that things are being l How about for the federal inmates?
2 done properly, that there is proper staff there, 2 A. It is $52 per day.
3 training, different vendor services, such as the 3 And did Judge Golden have the latest hearing
4 contracts with phone companies, medical services. 4 that you attended?
5 Q. Who is your immediate supervisor? 5 A. Yes, he did. It was, I believe, the second
6 A. The sheriff, John Davis. 6 week of December last year.
7 Q. How long has John Davis been the sheriff? 7 Q. Okay. Do you recall you were asked some
8 A. This is his third year. 8 questions about how you were able to hold your costs
9 Q. Prior to that, who was the sheriff? 9 down?
10 A. Prior to that was Sheriff Steve Toliver. 10 A. Yes, sir.
11 Q. Spell the last name. ll Q. What was the explanation you gave to the
12 A. TAO“L-I-V-E-R. 12 Judge?
13 Q. How many years did Sheriff Toliver serve? 13 A. Well, we e~ we keep a tight budget. l mean,
14 A, I believe he served 12. 14 I do everything l can to --
15 Q. You said one of the things that you do is 15 Q. Uh~huh.
16 also the budget for the jail? 16 A. ~~ to keep costs down and reduce costs.
17 A. We don't necessarily per se have a budget, 17 Q. Do you recall telling him that you were able
18 but all of the -- the financial reports, making sure 18 to keep the food costs down for the inmates?
19 that the Spending is in the correct ways. 19 A. Yes, sir.
20 Q. Do you have to make a yearly report to the 20 Q. Do you also recall telling him that you were
21 Court? 21 cutting back on the medical for the inmates?
22 A. Yes, I do. 22 A. The medical did decrease. Yes, sir.
23 Q. Tell me what is involved in making this 23 Q. When you say it decreased, how did it
24 yearly report to the Court. 24 decrease?
25 A. It determines the yearly jail -- per day jail 25 A. The hours -- the nursing hours decreased from
birch

Pages 5 to 8

 

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21 23

l consider that a turnover rate. 1 at least 10 jailers; correct?

2 Q. So they've gone to other positions in the 2 A, l have 20 detention staff.

3 sheriff's office? 3 Q. Twenty detention staff?

4 A. Correct. 4 A. They‘re broke up into four separate shifts

5 Q. I think we talked to Officer Marshalll 5 with five -- five each shift. That's -- that's line

6 A. Yes, sir. 6 staff.

7 Q. And he is one of these people that has gone 7 Q. Okay. And when they're working the lZ-hour

8 up? 8 shifts, how many shifts do they work before they get

9 A` Correct. He started in the jail, moved to 9 time off?
10 the transport division and now is on patrol division. 10 A. They‘re on a rotating shift. They work -*
11 Q. ls that a path you see a lot of these men and 11 for example, this week, shift A and C would work

12 women taking, that they start in the jail wanting to 12 Monday, Tuesday. Be off Wednesday, Thursday and work
13 go to other areas in the sheriff's office? 13 Friday, Saturday, Sunday\ The following week they
14 A. That is correct. 14 would be off Monday, Tuesday, work Wednesday, Thursday
15 Q. Is it your experience that working in the 15 and be off that Friday, Saturday, Sunday. Every other
16 jail is the least desirable of the positions with the 16 weekend they get a three-day weekend.

17 sheriff's office? 17 Q. Okay. So the -_ the shifts are the A, B, C
18 A. I wouldn't consider that. No. 18 and D shifts?

19 Q. Who is the most longstanding employee that 19 A. Yes, sir.
20 you have there? 20 Q. Okay.
21 A. Myself. 21 Ai A and C is -- A shift is the 7 a,m. to 7 p.m.
22 After you? 22 C is 7 p.m. to 7 a.m. And then B and D are the same
23 A. That would be Gina Hutchison. 23 for the next set of days.
24 Q. And she is the assistant to you; correct? 24 Q. When you first started at the jail 11 years
25 A. That is correct. 25 ago, what was your position?

22 v 24

1 Q. How long has she been there? l A. I started out as a basic detention officer.

2 A. 10 years yesterday. 2 Q. Had you worked at any other facilities before
3 Q. And you've been there six? 3 going to work at the Creek County facility?

4 A. I‘ve been at the jail ll years this January 4 A. 1 worked at the Tulsa Juvenile Bureau.

5 total. 5 Q. What did you do at the Tulsa Juvenile Bureau?
6 Q. Okay. 6 A. I was a detention officer. 1 forget. lt

7 A. The jail administrator for six years. 7 wasn't ~- detention officer wasn't the exact title,

3 Q. After you and Gina, who would be your next 8 but...

9 longstanding employee? 9 Q. What does the Tulsa Juvenile Bureau do?
10 A. As far as the jail staff? 10 A. They house juveniles in a correctional

11 Q. Yes. 11 detention type setting.

12 A. That would be Cindy Thompson. 1 believe 12 Q. How many years did you work at that Tulsa
13 she's been there four years. 13 facility?
14 Q. What is Cindy Thompson‘s position? 14 A. Roughly a year before I came here.
15 A. She's currently a shift supervisor. 15 Q. Prior to that, where had you worked?
16 Q. ` How long has she held that position? 16 A. Prior to Tulsa County Juvenile, 1 worked for
17 A. I believe she's been a supervisor two years. 17 Brink's Armored Car Service.
18 Maybe two and a half years. 18 Q. What did you do for Brink's?
19 Q, So all of your other guards have been there 19 A. 1 was a driver and a currier.
20 for four years or less? 20 Q. How long did you work for them?
21 A. Correct. 21 A. Two years. `

22 Q. Would you say the majority of your guards 22 Q. Was that in Tulsa?

23 have been there for two years or less? 23 A. Yes, sir.

24 A. Yes. 24 Q. Prior to that, how were you employed?
25 Q. And with the 12-hour shifts, l mean, you have 25 A. l was employed with the United States Marine

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1 medical. When we hired a medical vendor, they have 1 you get a copy of?
2 their policies that they go by. 2 A. Not all of them. No. It depends who they're
3 Q. But it is the jail facility that owes the 3 addressed to.
4 constitutional responsibility to the inmates to 4 Q. What if it's on a medical issue? Do you get
5 provide for medical and mental health care, isn‘t it? 5 a copy of that request to staff?
6 MS. GOOCH: Object to the form. 6 A. If it's addressed to me, yes. If it's not
7 THE WITNESS: That is correct. That's why we 7 address -- if it's addressed to Boomer Jones, which is
8 hire a medical company to provide those medical 8 my chief of security, or Gina Hutchison, then they'll
9 services. 9 answer and forward it to medical.
10 Q. (BY MR. WALSH) But who oversees what that 10 Q. On requests to staff, is there generally a
11 medical service is doing to determine that it is 11 person that is always listed on requests to staff?
12 adequate? 12 A. I don't understand the question, is there a
13 A. 1 don't know how to answer that. If -- if 13 person.
14 there is a medical problem that l become aware of, 14 Q. And that was a bad guestion. On requests to
15 then I'd address medical. 4 15 staff, it starts out with to --
16 Q, Well ~- 16 A. Correct.
17 A. If -- 17 Q. ~» and the inmate puts something in.
18 Q. ~' ultimately, it is your responsibility to 18 A. Correct.
19 ensure that the inmates receive appropriate medical 19 Q. And the ones that I've seen, at least in this
20 care, isn't it? 20 case, appear primarily to be going to medical.
21 MS. GOOCH: Object to the form. 21 A. Okay.
22 THE WITNESS: We hire a medical -- that's why 22 Q. Have you looked at the requests to staff
23 we hire a medical company to provide medical services 23 concerning this issue, the case we‘re here today on,
24 to the inmates. 24 Mr. Ernst?
25 Q. (BY MR. WALSH) I understand you hire the 25 A. I have seen some of them. Yes.
30 40
l company, but ultimately, that is your responsibility, l Q. Okay. Prior to you reviewing those in
2 isn‘t it? 2 preparation of your deposition, had you ever looked at
3 MS. GOOCH: Object to the form. 3 those requests to staff before?
4 THE WITNESS: It's my responsibility. That's 4 A. If they had came to me, yes. If they had not
5 why we hired the medical company to provide medical 5 come to me, no.
6 services. 6 Q. Did you see one in your review that was
7 Q. (BY MR. WALSH) Uh-huh. And so tell me then 7 addressed directly to you?
8 what you do to determine that the medical company is 8 A. I believe there was one or some that may have
9 providing those adequate services that are 9 had my name on them. Yes.
10 constitutionally mandated. 10 Q. What was Mr. Ernst asking you to do?
11 MS. GOGCH: Object to the form. 11 A. I don't specifically remember his. 1 get 25
12 THE WITNESS: The jail inspector comes in and 12 to 30 requests to staff a day. I don't remember
13 reviews medical. When they do their yearly 13 exactly what his spoke of.
14 inspection, they review files. If an inmate comes to 14 Q. When is the last time you looked at any of
15 me and says, hey, I'm having a problem, I'm not 15 these requests to staff concerning Mr. Ernst?
16 getting my medications or they're not treating me, 16 A. It‘s been a little while.
17 then I follow up with medical and make sure that that 17 Q. You've known that your deposition was going
18 inmate gets the care that is needed. 18 to be taken and that we would be covering this subject
19 Q. (BY MR. WALSH) And how often are you out 19 matter. Did you look at those within the last week?
20 there talking to inmates? 20 A. No, I have not.
21 A. 1 see the inmates daily. 21 Q. Okay. So has it been more than a month ago
22 Q. Okay. You -- 22 that you looked at them?
23 A. And they have a request that they can write 23 A. Roughly a month. Yes.
24 me as well. 24 Q. At the time of Mr. Ernst's suicide, did you
25 Q. So request to staff, is that something that 25 sit down and review his inmate file and medical file?
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1 recommendation that he needed to be transported? 1 These are people that are on their way out to go back
2 A. I don't know exactly when she told me, but 2 into the general population?
3 she has told me. y 3 A. Correct.
4 Q. He was not transported because of what the 4 Q. 0kay. So during the time that you have been
5 nurse told you, was he?. 5 jail administrator, has there ever been an instance
6 A. Correct. 6 other than this one we've talked about by court order,
7 Q. Do you know whether that nurse had ever 7 where you have sent an inmate to receive mental health
8 talked -~ strike that. Did the nurse tell you that 8 treatment who was then going to be returned to your
9 she had talked to the doctor, the PA or the mental 9 facility?
10 health professional about getting this man 10 MR. MCMILLIN: Object to the form.
11 transported? 11 MS. GOOCH: Same objection. Excuse me.
12 A. That I don’t know. I know I had called the 12 THE WITNESS: Not that I recall. I mean,
13 district attorney to let them know the recommendation 13 everybody that we transfer to Vinita is by court
14 and that's when they were waiting for the court order 14 order.
15 to come down to transport him, 15 Q. (BY MR. WALSH) And other than this
16 Q. Okay. So until the court ordered that this 16 incidence, they were all for competency
17 took place, no action was taken other than for 17 determinations?
18 whatever was done in~house for this inmate? 18 A. Correct. And this one may have been
19 A. He was not transported anywhere. No. 19 competency too. I don't know what the exact order
20 Q. Okay. Other than this inmate, can you think 20 was.
21 of any other inmates that had been sent to Vinita, not 21 Q. Have you ever contracted with a psychiatrist
22 for competency hearings, but for mental health 22 or psychologist to provide mental health services to
23 treatment? 23 any inmates at the Creek County facility?
'24 A. I don't think just for mental health 24 A. 'Not that was not through the medical company
25 treatment. No. I think it was all competency, 25 or CREOKS. We haven't contracted with CREOKS, but...
54 56
1 Q. Okay. So during -~ 1 Q. Other than Dr. Bumgardner, do you know -‘ do
2 A. And that may have been why they sent -- I 2 you know what her qualifications were?
3 mean, that may have been why they sent him, but I did 3 A. I do not. No.
4 make a recommendation to the DA or addressed a 4 Q. Okay. Other than this person, Dr.
5 concern. I said that they were waiting to get him a 5 Bumgardner, any other doctors to your knowledge been
6 bed space in Vinita. 6 in this facility since the time that you have been the
7 Q. So during the five to six years that you have 7 administrator that specifically dealt with mental
B been the jail administrator, would it be a fair 8 health issues?
9 statement that this is the only inmate that has been 9 MR. MCMILLIN: Object to the form.
10 transported to any facility to receive mental health 10 THE WITNESS: We have had different mental
11 treatment? 11 health people -- I don't know their exact
12 MR. MCMILLIN: Object to the form. 12 qualifications -~ that have come in that have been by
13 THE WITNESS: No. That is incorrect. We 13 l would say, order of the Court, but maybe an attorney
14 have transported ~- for instance, if I have an inmate 14 would have ~- wants a mental health professional to
15 that is on suicide watch that has made some sort of 15 come in and speak with their client --
16 gesture that they're suicidal, and if they get 16 Q. (BY MR, WALSH) Okay.
17 released from jail, whether it‘s by the Court or 17 A. -- but nothing that -- nothing that the jail
18 whether it's by bonding out, we transport them to 18 has ordered. No.
19 CREOKS so CREOKS can do a mental evaluation. Once -- 19 Q. And a person who has a master's in social
20 once they are released from our custody, we will 20 work, do you know what that entails?
21 transport them to CREOKS to make sure that CREOKS says 21 A. l do not.
22 that they‘re safe to return to the community. 22 Q. Do you know whether that person can prescribe
23 Q. (BY MR. WALSH) And when you say released by 23 medication?
24 your facility, they don't -- they're not going to 24 A, l do not.
25 report to DOC, there is no other federal facility? 25 Q. Do you know whether that person is competent
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57 59
1 to diagnose mental illnesses? 1 up.
2 A. l do not. I don't know what their 2 Q» Okay. But would she work in the nursing
3 qualifications are. 3 area?
4 Q. Let's go back to ACH. You had ConMed for one 4 A. Yes, she would.
5 year. Why did you not renew the contract with ConMed? 5 Q. And she is the one that gave this class on
6 A. They did not wish to renew. we were their 6 suicide prevention and how to determine whether
7 only site in Oklahoma and it was not beneficial to 7 someone was depressed?
8 them. 8 Ai l believe it was Pam. I'm not -- like I
9 Q. Were you satisfied with what ConMed had 9 said, I'm not a hundred percent sure it was her. It
10 provided to the facility? 10 was -~ I know it was an ACH employee.
11 A. I would say yes. ll Q. Do you know what her qualifications were to
12 Q. Did you ever write any letters to ConMed 12 teach that course?
13 being critical of the work that they were doing in 13 A. l do not.
14 your facility? 14 Q. You are familiar with the name Melissa
15 A, Not that l recall. No. 15 Caldwell. How are you familiar with that name?
16 Q. Did anyone on behalf of the facility, the 16 A. She would call at times and just check in and
17 sheriff, undersheriff, anyone write letters to ConMed 17 she had visited the site occasionally.
18 saying you're not providing adequate services? 18 Q. How often would she visit Creek County?
19 A. Not to ConMed. No. 19 A. 1 remember seeing her three times. lt could
20 Q. To whom did they write those letters? 20 have been more than that, but I remember physically
21 A. There was a letter written to ACH. 21 seeing her three times.
22 Q. Okay. Let's get to ACH then. ACH began 22 Q. And do you know what her specialty was with
23 their contract in July of 2013? 23 ACH?
24 A. I believe that is correct. Yes. That's what 24 A. She was in the mental health field. l don't
25 l had stated. I'm pretty confident of that date. 25 know her qualifications, but...
58 60
1 MS. GOOCH: I'm sorry. I'm sorry, Micky. I 1 Q. Did she ever send you any written materials
2 know you're shifting gears. I need to use the 2 that you were to disburse to your officers to help
3 restroom. We've been going over an hour. 3 them deal with mental health issues?
4 MR. MCMILLIN: Let's take a break. 4 A. No. Not that l recall.
5 MS. GOOCH: Can we take a real quick break? 5 Q. Did you ever attend or did you require any of
6 MR. WALSH: That's fine. Any time you need a 6 your officers to attend any video conferencing where
7 break. 7 Melissa Caldwell addressed mental health issues in a
8 MS. GOOCH: Okay. Thanks. 8 correctional facility?
9 (Ereak taken from 10:06 a.m. to 10:11 a.m.) 9 A. No. lf -~ can l make one clarification?
10 Q. (BY MR. WALSH) Earlier when we were talking 10 Q. Sure.
11 about those classes, you had ~~ you mentioned a ~- a 11 A. l think this is where my dates were messed up
12 woman by the name of Pam. 12 earlier. The contract with ACH started in 2011.
13 A, Yes. 13 Q. Okay.
14 Q. We've been talking off the record. Pam 14 A And then ConMed was the year before them.
15 Hibbert? 15 Q 2010?
16 A. I believe -- l believe that was her last 16 A. Correct.
17 name. The other one that you had spoke of off the 17 Q Okay.
18 record was Melissa Caldwell. 18 A. And that's -~
19 Q. Melissa Caldwell? 19 Q. And that would have been around the time that
20 MR. MCMILLIN: That's right. 20 you were beginning your position?
21 Q. (BY MR. WALSH) Okay. Pam Hibbert, was she a 21 A. That was my transition. Yeah. I'm sorry.
22 nurse there at the facility? 22 That‘s --
23 A. She was not assigned to our facility. No. 23 Q. Okay. Do you recall a person named Amanda
24 She was an ACH employee. She would come down if they 24 Spriggs?
25 were short staffed or needed help or get things caught 25 A. Yes, sir.

 

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Q. What was Amanda Spriggs' position?

A. She was the mental health -~ l don't know if
you call her nurse, but the mental health professional
that would come in.

Q. And do you know what her qualifications were?

A. 1 -- not off the top of my head. 1 know she
has given me her ~* her title at one time.

MS. GOOCH: Excuse me.

THE WITNESS: lt was abbreviated. l don't

remember what it stood for.
Q. (BY MR. WALSH)

Okay, Could Amanda Spriggs

prescribe medication?

A. Not that I‘m aware of. I don't think she
could, but, again, I'm not specific on her -" her
history or background of what she could or could not

do.
Q. Okay. We're going to pick her back up here

in just a second. So 2010, you had the contract with

ConMed. Did that run from July 2010 through July of
2011?

A. I know it expired in July of 2011 because ACH
took over in August.

Q. Okay. When had ConMed given you notice that

we are no longer going to provide medical services to

mm»bwt\)r-*

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with and spoke with those facilities as well.

Q. What facilities did you speak to about ACH?

A. I honestly don't remember the exact ones. l
believe I spoke with Payne County. l don't ~- l don't
remember the exact counties l spoke with.

Q. Okay. Were they all Oklahoma counties?

A. No, they were not.

Q. Do you have any type of file material that
would enable you to go back and determine who you made

contact with to vett ACH?

A. No.

Q. Did Payne County have good things to say
about ACH?

A. From what they knew, yes. They had just
started with them. That's the only county I

specifically remember talking to.

Q. Are you aware that Payne County no longer
uses ACH?
A. I was not.
MS. GOOCH: Object to the form.
THE WITNESS: I know they have just switched
over.
Q, (BY MR. WALSH) Yes. Did you talk to that
person at Payne County about why they made the switch?

 

 

 

 

 

 

25 your facility? 25 A. No, 1 did not.
62 64
1 A. lt was in the May to June time frame. 1 Q. Did they make the switch after you had made
2 Q. How did you learn of ACH? 2 the switch?
3 A. .I went on the Internet and just started 3 A. 1 don't recall if -- l believe it was roughly
4 looking at different correctional health care 4 right around the same time.
5 facilities. 5 Q. Okay. When you went online and you ~- you
6 Q. Had you ever received any material from ACH 6 went to the web site of ACH, what impressed you about
7 prior to you going online? 7 that web site for ACH?
8 A" Not that I remember. No. A. Nothing per se impressed me. I was looking
9 Q. Okay. What -- when you went online, there 9 for a source.
10 were a lot of facilities that offer medical to 10 Q. were you part of the -- of the decision to go
11 correctional facilities, aren‘t there? ll ahead and use a third party vendor to provide medical
12 MS. GOOCH: Object to the form. 12 services to the Creek County facility?
13 THE WITNESS: Correct. 13 A. Is this when we first started using a vendor?
14 Q. (BY MR. WALSH) Excuse me? 14 Q. Yes.
15 A. Correct. 15 A. Somewhat, yes. That was right during ~~ at
16 Q. How was it that you chose ACH? 16 the transition when I was coming into the jail
17 A. lt went out in a bid process. 17 administrator position.
18 Q. How many other companies bid? 18 Q. Sheriff Toliver would have been the sheriff
19 A. There was three to four total that l 19 at that time; correct?
20 remember. 20 A. Correct.
21 Q. How did you vett these different companies to 21 Q. Who was his undersheriff?
22 determine not only lowest price, but also just to make 22 A. Rick lshmael.
23 sure that we want this company to go ahead and bid on 23 Q. Where is Rick Ishmael today?
24 this job? 24 A. He still lives just outside of town here.
25 A. We reviewed who they currently had contracts 25 Q. What does he do?
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Pages 61 to 64

 

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A. l don't know what he's doing.
Q. Okay. Tell me why the decision was made to
go from in-house to a third party vendor for medical.
MS. GOOCH: Object to the form.
THE WITNESS: A lot of it was to help reduce
liability.
Q. (BY MR. WALSH) Okay. Liability in what
respect?
A. To have actual trained medical staff in there
that was trained and employed by a medical company.
Q. Okay. Well, you had trained medical staff
didn’t you -~
Correct.
~~ when you did it in-house; correct?

Correct.

»O>z>.>

Did you have any problems with the services
that were being rendered by the doctor that had been
at the facility since 2005?

A. The doctor was relieved of his services
before 1 took over the jail administrator.

Q. Why was he relieved of his services?

A._ There was a ~- was an inmate medical lawsuit.

Q. Was the jail dissatisfied with the number of

times that the doctor actually came to the facility?

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mental health issues, isn't it?

A. Yes.
MS. GOOCH: Object to the form.
Q. (BY MR. WALSH) And you recognized that at

the time that you became an administrator, didn’t you?

MS. GOOCH: Object to form.
THE WITNESS: l didn't initially recognize it
at that time. 1 recognized it later on. Yes.

Q. (BY MR. WALSH) Well, you had worked in this

facility from 2005 to 2009 to 2010 as a guard, hadn‘t

you?

A. Correct.

Q. And you had seen mental health issues arise
during that period of your employment, hadn‘t you?

A. Correct.
MS. GOOCH: Object to the form.
Q. (B¥ MR. WALSH) So you were aware of the -_

of the crucial need for inmates to receive appropriate
medications for mental health issues, weren't you?
MS. GOOCH: Object to the form.
THE WlTNESS: There is a need for mental
health and medications. Yes.
Q. (BY MR. WALSH) When you became the

administrator, did you make that one of your primary

 

 

 

 

 

 

25 A. That l don't know. 25 goals to ensure that inmates were going to receive
66 68
1 Q. Well, has it been your experience that while l appropriate medications that were prescribed by
2 you have a medical doctor that is on call 24 hours a 2 physicians to help address mental health needs?
3 day, seven days a week, that generally they send their 3 A. lt was my goal to make sure that the inmates
4 PA? 4 had medical and mental health treatment and medical
5 A. 1 don't even know if we had a PA at that 5 care that they needed.
6 time. 6 Q. You're familiar with the term "deliberate
Q. Okay. When you`went with ACH, you said that 7 indifference," aren't you?
8 there were, I think, three companies that actually bid 8 MS. GOOCH: Object to the form.
9 on the job? 9 THE WITNESSz Yes, sir.
10 A. There was three to four. .Yes. 10 Q. (BY MR. WALSH) Define that term for me.
11 Q. And what were the parameters of the work that ll MS. GOOCH: Object to the form.
12 you wanted done by these third party vendors to supply 12 THE WlTNESS: lt's basically when ~- doing
13 medical and mental health services to inmates at Creek 13 wrong when you know what's right.
14 County? 14 Q. (BY MR. WALSH) Okay. As it applies to a
15 A. lt was 24-hour medical coverage, providing 15 medical or mental health issue, could you give me an
16 medical care. 1 don't remember the exact wording, but 16 example of something that you think would amount to
17 it was medical care, X amount of nursing hours, X 17 deliberate indifference towards an inmate in violation
18 amount of doctor hours, X amount of mental health 18 of their constitutional rights?
19 hours. 19 MS. GOOCH: 0bject to the form.
20 Q. ls there a higher percentage of the 20 MR. MCMILLIN: Object to the form.
21 population in a jail setting that have mental health 21 THE WITNESS: Knowing that they needed
22 issues than what we find out -- find in the general 22 medical care and not providing it‘
23 population? 23 Q. (BY MR. WALSH) Okay. When you hired ACH,
24 A. 1 believe so. Yes. 24 did you specifically talk to anyone at ACH about how
25 Q. That's a real concern in a jail setting, 25 they addressed mental health issues with the inmates?
birch

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l A. Not that l recall. 1 gotten a request to staff on a medical issue, would
2 Q. Did you discuss with them how they provided 2 you ask them to pull that file as well?
3 medical care to inmates? 3 A. No. If I had gotten a request, I would have
§ 4 A. lt was in the contract and things such as 4 addressed that request at the time of the reguest.
d 5 that that -- the hours and how they would see and how 5 Q. And in these spot checks, if you found
6 they would refer. 6 deficiencies, how would those be addressed?
7 Q. Did you give each of these facilities that 7 `A. We would find out what happened and address
8 were going to bid on this contract a copy of the 8 them as needed with that staff and/or all of the
9 jail's policies and procedures? 9 staff.
10 A. I do not believe so. 10 _ Q. Atter Mr. Ernst’s suicide, was his file and
ll Q. Okay. At the time that you retained ACH, you ll medical chart specifically ever pulled at one of these
12 did give them a copy of the policies and procedures of 12 medical administration meetings?
13 your facility, didn't you? 13 A. No. After his death, his file was pulled for
14 A. l believe l did. I'm not a hundred percent 14 keeping.
15 on it, but I'm pretty confident I did. 15 Q. And this is policy J'A-O4, lt says that the
16 Q. I mean, they have to abide by the policies 16 health care team will compile a report of the overall
17 and procedures as well, don't they? 17 medical staff activities each month and will be given
18 A. Correct. By the state jail standards. 18 to administration. Was that done?
19 Q. Okay. Do you have regularly scheduled 19 A. No, it was not.
20 medical administrative meetings that occur at your 20 Q. And it will review -- be reviewed at the
21 facility? 21 continuous quality improvement meetings. What are the
22 A. Not regularly scheduled, no. 22 continuous quality improvement meetings?
23 Q. What are medical administrative meetings? 23 A. We don't do those. That's ‘~ the medical
24 A. With ACH, we would have -~ 1 want to say that 24 policy overrides what ~- the medical policy is what we
25 we had quarterly reviews where we would check the 25 go by.
70 72
1 charts, number of patients that were treated, number 1 Q. So are you telling me that ACH had a separate
2 of patients that went off site or emergency type care. 2 medical policy besides the policies of your facility?
3 Q. Who would be a part of these meetings? 3 A. Thcy had a policy and protocol book. Yes.
4 A. Normally myself, the nurse that was on staff 4 Q. And were you given a copy of that policy and
5 and one of the -- l believe they were called regional 5 protocol book?
6 managers, regional directors. 6 A. Yes.
7 Q. would the regional directors appear in person 7 Q. Why didn't you go back then and revise policy
B or by phone? 8 J"A-04 that dealt with the administrative meetings and
9 A. In person. 9 reports?
10 Q. Who was the regional director over your 10 A. I have no answer for that.
11 facility? 11 Q. Policy J~A~OG States it is the policy of the
12 A. We had a couple of different ones. 1 can see 12 Creek County Jail to maintain written policies and
13 their faces, but can't think of a name. There was one 13 procedures for quality assurance assessments of health
14 male and then there was two females. 14 care services. Did you follow that policy?
15 Q. You said that you had reviewed the medical 15 A. Not on that. That's where we have the
16 charts of inmates. 16 vendor‘s policy or protocols in place.
17 A. We would ~~ we would spot -- we would pick a 17 Q. So what were the vendor's protocols as far as
18 _- you know, certain different charts and pull them 18 notifying you so that you could determine that quality
19 and spot check them. 19 assurance had been met in the providing of health care
20 Q. So you would not review all of the inmate 20 to inmates?
21 medical files? 21 A. I would have to review that policy. l don't
22 A. Correct. 22 recall it off the top of my head.
23 Q. How many would you spot check? 23 Q, Well, what did you get during the time that
24 A. I'd say we would pull 10. 24 ACH was there? What did you get that you could look
25 Q. If you had any specific issues, like you had 25 through and at the end of when you looked at it you
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said to yourself they're doing their job?

A. I could go in and pull any chart at any time
and review it.

Q. But did you go pull charts and review them?‘

A. Yes. If there was a request or an issue that
an inmate had addressed to me, I would go review their
chart and normally would bring them to medical and
make sure that they were seen at that time.

Q, But those were only on requests to staff
addressed to you; correct?

A. Addressed to me.

Q. So if there were requests to staff that were
being given, but was going to medical instead, you
would not see those requests to staff, would you?

A. Not always. Sometimes they would -- if it
was -- depending upon the circumstances they would --
I mean, they would bring me different ones at times.

Q. Tell me -- tell me the -~ what the policy was
as to whether you would get a request to Staff not
specifically addressed to you.

A. If I would get a request ’- l don't
understand your question.

Q. You told me that there would be times that
someone would bring a request to staff to you and l

want to know what was the policy that was in place as

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specifically saying he wasn't getting his medications
and it was found out that he was refusing his
medications.

Q. What medications was he refusing to take?

A. I don't recall which medication it was.

Q. And I'm assuming that in his inmate file
there would be something in there that would say

inmate is being given his medications but has refused

them?
A. Correct.
MS. GOOCH: Object to the form.
Q. (BY MR. WALSH) Sir, I'm going to tell you in
looking at this inmate file, I've never seen such a

document. lt that document isn’t in there, would that

make you question whether or not that, in fact,

occurred?
MS. GOOCH: Object to the form.
THE WITNESS: lt would.
Q. (BY MR. WALSH) When you looked at his inmate
file, did you ever see a response to a request where

lt was written on there that inmate had refused
medications, but is being offered them, that comes to
mind as you sit here?

A. I don't specifically recall. I see a lot of

requests throughout the day.

 

 

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to when you would be given a request to staff that was
not specifically addressed to you.

A. Just -~ just in concern to medical or
overall?

Q. Concern to medical.

A. If it was -~ medical would bring me one. For

instance, if medical was crushing meds and the inmate

didn't want their meds crushed or if it was
continually saying, you know, I'm not getting care.
Q. When you say continually, how many times

would an inmate have to say that before you would be
advised of that?

MS. GOOCH: Object to the form.

THE WITNESS: Normally no more than twice.
Normally the second request, I would -- they would
bring it to me.

Q. (BY MR. WALSH) So if an inmate was saying he

was not getting his medications and has said that on

 

 

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Q. And l ~" and l appreciate that, but, l mean,
you've made the comment that if it happened twice you
should have been told.

A. Correct,

Q. And you think you were told and you gave me a
specific instance. I'm just telling you that l don't
see that in the inmate file.

A. And it may not be his specific one. I mean,
l don't recall his whole file.

Q. Okay, ls there any type of a CQI program in
place at this facility? And let's -- the time frame
would be back from 2013 to 2014.

A. That would be their quarterly reviews.

Q. That's the quarterly reviews that we've

talked about?
A. And also the jail inspector, she will come
in. They normally come in and if the jail inspector

gets a complaint, the jail inspector will come and act

 

 

19 more than one occasion, you would expect that that 19 on that complaint and pull the charts and also look at
20 would be brought to your attention? 20 others and also pull them during their yearly
21 A. Correct. 21 inspection.
22 Q. In the Ernst matter, was it ever brought to 22 Q. Okay. Back during this time, 2013 to ZOlL
23 your attention that he was not getting his 23 it was the policy of Creek County Jail to provide
24 medications? 24 access to appropriate care for serious medical, dental
25 A. I want to say at one time l got one from him 25 and mental health care needs, wasn‘t it?

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l A. Yes. l MS. GOOCH: I have a copy here if you need
2 Q. Detainees could not be refused health care 2 that to look at and he can look at mine.
3 due to inability to pay assessed copayments? 3 MR. WALSH: Okay.
4 A. Correct, 4 THE WITNESS: Okay. -I'm ~~ can you repeat
5 Q. Was there a list of any medications that the 5 the question? I'm -- I'm sorry.
6 jail had, not ~- not any formularies from ACH or any 6 Q. (BY MR. WALSH) The policy that you've just
27 other third party vendor of medications, that would 7 looked at, controlled drug policy, that is dealing
8 not be given to inmates? 8 with narcotic medications, isn't it?
9 A. Narcotics would not be given in general, 9 A. Correct. `
10 unless there was a specific ~~ 10 Q, And it says in here that the facility will
ll (Reporter asked for clarification.) ll give those medications; correct?
12 THE WITNESS: -- a specific ~- 12 A. Correct.
13 MS. GOOCH: I'm sorry. 13 Q. lt tells you how you're going to account for
14 THE WITNESS: I‘m sorry, Could you review 14 it. There will be two nurses. There's got to be a
15 the question so 1 can -- 15 count given both before and after receipt of the
16 Q. (BY MR. WALSH) Was there any document that 16 medications?
17 the jail had as to any medications that would not be 17 A. Uh-huh.
18 given to an inmate? 18 Q. Do you recall seeing that?
19 A. Narcotics would not be given unless a 19 A. Yes.
20 non-narcotic could be substituted. 20 Q. Certainly ACH would have been advised that it
21 Q. What if it had been ordered by a physician? 21 was the policy of your procedure to give these
22 A. A physician previous to incarceration? 22 narcotic medications if prescribed by a physician and
23 Q. Or a physician at the jail. 23 necessary for that inmate?
24 A. If a jail physician ordered it, yes. Or if 24 A. That is correct.
25 they could obtain the inmate's medical records, they 25 Q. Okay. 1 can kind of hear what you're saying
78 80
l would find a non-narcotic that they could be put on, 1 over there. This is not the drug policy?
2 Q. Okay. Was deference given if an inmate had 2 MS. GOOCH: Oh. Let's start on this at the
3 been prescribed medications by a physician prior to 3 beginning Of the tab, Can we take one moment?
4 coming to the facility that these medications would be 4 MR. WALSH: Sure.
5 continued? 5 (Break taken from 10:40 a.m. to 10:48 a.m.)
6 MR. MCMILLIN: Object to the form. 6 Q. (BY MR. WALSH) There was a policy -- was the
7 THE WITNESS: If it met the formulary, they 7 correct policy or something that -- have you satisfied
8 would be given it. If it did not meet the formulary, 8 yourself that the policy we were looking at that
9 they would find a substitute to substitute that 9 talked about controlled drugs was, in fact, in force
10 previous prescription and that prescription had to 10 and effect at your facility back in 2013 and 2014?
11 been verified by their medical records. 11 A. There may have been some confusion on my
12 Q. (BY MR. WALSH) What if there was not a 12 part. This policy that we have here is authored by
13 substitute that was available? 13 ACH that we adapted to our policy.
14 A, If there was not a substitute need ~- or 14 Q. Okay.
15 found and it was a needed medication, then they would 15 A. So that -- that's where my confusion was. I
16 be given it. 4 16 didn't understand the numbering and how all that was.
17 Q. I'm looking at a policy that is JDOZC 17 That was --
18 medication services controlled drug policy. When you 18 Q. Oh, okay.
19 talk about controlled drug policy, that's referring to 19 A. There's -- this is different from the
20 narcotic medications, isn't it? 20 original Creek County Jail policy. This was authored
21 A. I'm sorry. Could you repeat that? 21 by ACH for our site, if that makes sense.
22 Q, Yes. Let me just show it to you; okay? This 22 Q. And adopted by your facility as part of its
23 policy and it's Bates stamped 1793. This is the 23 policies and procedures?
24 policy that is dealing with controlled drugs, which 24 A. Correct.
25 would be narcotics; correct? 25 Q. And these outlined the medical rights that

 

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patients have in your facility?
A. Correct. That ACH has written.
Q. So when we were talking about the controlled

drugs, this was a policy that was offered by ACH and
accepted by your facility?

A. Correct.

Q. And you expected ACH to follow that policy
and procedure as, once you adopted it, it became the

jail's policy and procedure; correct?

A. That's correct. Sorry for any confusion, but
l was ~~

Q. No. That's fine. That's fine.

A. The numbering system had me confused. 1 was
like, that's not our number so...

Q. And there is another policy and this is
J'E-OS, mental health screening evaluations and
services and it -- once again, it says it is the
policy of Creek County Jail that mental health

services are available to all detainees who require

them?

A. Correct.

Q. The detainees who require acute care mental
health services beyond those available at the jail are

transferred to an appropriate facility as soon as the

need for such treatment is identified and arrangements

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would be my understanding that the medical company
would make the appropriate appointments or
arrangements for their treatment -e

o. (BY MR. wALSH) okay`.

A. -- as per the contract.

Q. Are you aware that ACH did not have any
contract with any psychologist or psychiatrist in the
area?

A. No, 1 was not.

Q. Did you ever see any psychiatrist or
psychologist ever come to your facility during the
time that ACH had this contract?

MR. MCMILLIN: Object to the form.
THE wITNESS: Not that I'm aware of. No.
Q. (BY MR. WALSH) Were you ever told that a
psychiatrist or psychologist had came to your facility
during the time that ACH had this contract?

A. No. The only ~~ no.

Q. In the same policy, the J~E-OS, it says that
medical staff shall attempt to obtain past and current
medical and mental health history of a detainee to
assist in the treatment of detainee while
incarcerated. This, once again, was something that
you expected the medical to do in fulfillment of their

responsibilities under the contract they had with the

 

 

 

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1 can be made, You were aware that that was the policy 1 jail?

2 that was ultimately adopted by the jail based on ACH 2 A. That is correct. We would have the inmate

3 policies and procedures; correct? 3 sign a medical release and give that medical release

4 A. Correct. 4 to them,

5 Q. And yet as you sit here right now, we've 5 Q. Have you ever seen the treatment protocols

6 talked about that one man that went out for three to 6 that were utilized by ACH during the time that they

7 five months, as we sit here now, is that still the 7 were under contract with your facility?

8 only person you can think of that has been transferred 8 A. 1 have seen them. l haven't reviewed each

9 outside of the facility for mental health treatment? 9 and every one of them but, yes, I have seen them.

10 A. Yes. 10 Q. Okay. As the jail administrator responsible
11 Q. During the time that you have been the jail ll ultimately for the well-beihg of the inmates at your
12 administrator, are you saying that from that point 12 facility, should you have reviewed those medical

13 until now that you have never seen an inmate that you 13 protocols?

14 thought was in need of inpatient mental health 14 A. Yes. I ~- yes.

15 services? 15 Q. 1 mean, certainly both as in your role as the
16 MS. GOOCH: Object to the form. 16 jail administrator as well as just life in general, l
17 THE WITNESS: There have been others. Yes. 17 mean, you have encountered people that had anxiety

18 Q. (BY MR. WALSH) But they did not receive that 18 issues, haven't you?

19 treatment? 19 A. Yes, l have.
20 MS. GOOCH: Object to the form. 20 Q. You have encountered people that have
21 THE WITNESS: No. Well -- no. 21 depressive issues, haven't you?
22 Q. (BY MR. WALSH) That would be in violation of 22 A. Yes.
23 this policy, wouldn't it? 23 Q. You understand that those are conditions that
24 MS. GOOCH: Object to the form. 24 can be medically treated for individuals?
25 THE WITNESS: That would be correct. That 25 A. Correct.

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l Q. Your policies and procedures require that 1 A. Yes.

2 your guards be trained to recognize medical and mental 2 Q. That is a policy that has been adopted by

3 health issues? 3 Creek County Detention Center, isn’t it?

4 A. That is correct. 4 A. Yes.

5 Q. And, in fact, the policies and procedures 5 Q. And it states that the policy of the Creek

6 basically say that they are to work hand in hand with 6 County Jail, the suicide recognition intervention

7 medical to identify those issues; correct? 7 begins upon book in to the jail.

8 A. Correct. 8 A. That is correct.

9 Q. During the period of time that you have been 9 Q. And you want to inquire and get as much

10 jail administrator, how many suicides have there been 10 information as you can about an inmate to determine
ll at your facility? 11 whether they're suffering from any type of mental

12 Ai There has been two. 12 illness that might lead to any suicide attempts,

13 Q. Mr. Ernst and Mr. Moss? 13 aren't you?

14 A. That is correct. 14 A. That is correct.

15 Q, Mr. Moss's suicide was one month after 15 Q. The intake itself, is that done by jail staff
16 Mr. Ernst, wasn't it? 16 or by medical staff?

17 A. 1 believe it was a year and a month. 1 don't 17 A. The initial is done by jail staff.

18 believe it was -~ 1 don't recall. lt may have been. 18 Q. Is there a followeup that is then done by
19 I thought it was a year after but... 19 medical staff?
20 Q. Well, Mr. Ernst died in June of 2014. A year 20 A. Yes. The intake form is then handed over to
21 and a month would mean that he died in July of 2015, 21 medical staff.
22 Mr. Moss, so that's been within the last three months? 22 Q. States that all jail and medical staff are
23 A. Maybe it was one month. 1 don't recall the 23 responsible for monitoring the mental status of every
24 exact date. 24 detainee. That is the policy, isn’t it?
25 Q. l know that there was an investigation that 25 A. Yes. That's the policy statement. Yes.

90 92

1 took place and 1‘ve looked at the investigation. lt 1 Q. That's the baseline that you are talking

2 talks about finding Mr. Ernst and looking at videos 2 about that this training gives to your guards at your
3 and seeing what he had been doing during that early 3 facility?

4 morning hours before the suicide. You're familiar 4 A. Correct.

5 with that investigation, aren't you? 5 Q. It says that a staff member who works with

6 A. Yes. 6 detainees are trained to recognize verbal and

7 Q. Was there ever an investigation that took 7 behavioral clues that indicate potential suicide.

8 place where the facility tried to determine what they 8 What are those verbal clues that could recognize

9 could do to help prevent suicides among their inmate 9 suicidal ideations?
10 pcpulation? 10 A. If they're verbally expressing it to them,
11 A. No. There was not an investigation, 11 Q. Okay. So if someone says I'm going to commit
12 Q. Was there any analysis performed by you or 12 suicide?
13 anyone at the Creek County facility that dealt with 13 A. Uh~huh. Yes.
14 how do we keep this from happening in the future? 14 Q. Or I want to die?
15 a. No. 15 A. Yes.
16 Q. You're aware that there is a suicide 16 Q. You understand that there are other verbal
17 prevention program in the policies and procedures as 17 clues that can be made that could indicate suicidal
18 adopted by the jail and offered by ACH? 18 ideation besides just the overt statement of suicide;
19 A. As ~~ 1 don't know. I'd have to ~~ if you 19 correct?

20 can -- 20 A. There are some. yes.

21 Q. Yeah. It is -- 21 Q. Give me an example of some of those other

22 Ai -- review that. 22 verbal clues.

23 Q. Policy J*G-OS. It'S under Bates stamp 1824. 23 A. 1 don't want to be here. My life is over.
24 lt's towards the end of those. Are you looking at the 24 Different things such as that,

25 suicide prevention program? 25 Q. And there are times that a -- an inmate in a

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1 jail facility is more prone to suicide than other 1 influence of alcohol, 1 mean, do you think that after
2 times, isn‘t there? 2 24 hours he's going to be under the influence of any
~3 A. Yes. 3 alcohol?
4 MS. GOOCH: Object to the form. 4 MS. GOOCH: Object to the form.
5 Q. (B¥ MR. WALSH) What are those times? 5 THE WITNESS: Well, if he was on any other
6 A. If they're under the influence of alcohol or 6 narcotics that could have been given to him at the
7 drugs, lf they're getting sentenced. 1£ they know 7 hospital as well.
8 they're going to prison or they may not be getting out 8 Q. (BY MR. WALSH) Okay. Were you aware that he
9 for sometime. 9 had attempted suicide in the hospital?
10 Q. Okay, Well, one of the first is within the 10 A. No, 1 was not.
11 first 24 hours, isn't it? 11 Q. Was he under -- was he in custody at the time
12 MS. GOOCH: Object to the form. 12 that he was in the hospital?
13 THE WITNESS: That's correct. 13 A. Not by the Creek County Sheriff's Office.
14 Q. (BY MR. WALSH) And you have been taught and_ 14 Q. Who was he in the custody of during the time
15 you know from personal experience that that is a 15 that he was at the hospital?
16 higher risk of suicide of the individual during that 16 A. I do not know the answer to that,
17 first time in prison? 17 Q. Would you fully expect that if there had been
18 MS. GOOCH: Object to the form. 18 a suicide attempt that whoever transported him to your
19 THE WITNESS: Correct. 19 facility would have told you of that fact?
20 vQ. (BY MR. WALSH) Mr, Ernst was placed on 20 MS. GOOCH: Object to the form.
21 suicide prevention when he first came into your 21 THE WITNESS: 1 would have thought so.
22 facility, wasn't he? 22 Q. (BY MR. WALSH) Are you aware now that he had
23 A. Yes. 23 attempted suicide in the hospital?
24 Q. Why was he placed there? 24 A. Now that you're telling me this and from the
25 A. Due to the nature of his crime. 25 previous depositions of his wife, after reading those.
94 96
l Q. Was there something specific that occurred- 1 Q. Okay. What other depositions have you read
2 that led him to be placed on suicide prevention? 2 before coming here today?
3 A. Due to the ~- to the nature of his crime and 3 A. Her specifically.
4 being under the influence as well. 4 Q. Any others?
5 Q. He was under the influence of what when he 5 A. I've briefed over the others, but not word
6 came into your facility? 6 for word.
7 A. Well, he was suspected of being under the 7 Q. Did you read the deposition of Amanda
8 influence of either alcohol or some sort of 8 Spriggs? l
9 prescription drug. 9 A. 1 have read the majority of it. Yes.
10 Q. Well, you understand that Mr. Ernst was not 10 Q. Okay. Behavioral clues that indicate
11 transferred to your facility directly from the site of 11 potential suicide. What are those behavioral clues?
12 his accident, don't you? 12 A. lt could be crying. It could be being
13 A. That is correct, 13 distant, not speaking, more of a -- just a down, head
14 Q. Where was he first taken? 14 shaking. There's many different ones.
15 A. To the hospital. 15 Q. Under G it says communication between health
16 Q. How long did he remain in the hospital? 16 care staff and correctional staff is critical.
17 A. 1 do not know how long he was there. 17 Special occurrences are documented on an ancillary
18 Q. Well, the accident itself occurred on August 18 report communicated to the medical staff. 1 mean, you
19 23rd of '13. I'll just tell you. I mean, this is the 19 agree that it is critical for your staff to
20 dates that 1 have; okay? 20 communicate with medical concerning patient’s medical
21 A. okay. ` 21 and mental health neeus, isn't it?
22 Q. And he was not brought to your facility until 22 A. Correct.
23 August 24th, 20131 .23 Q. You're aware that there was an event that
24 A. Okay. 24 took place with Officer Marshall, the transport --
25 Q. 1 mean, statement that he was under the 25 A, Yes.
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Pages 93 to 96

 

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97 99
1 Q. -- deputy? When did you first learn that l checked at medical before being returned to his
2 Officer Marshall had reported to his supervisors his 2 housing unit.
3 concerns for Mr. Ernst? 3 Q. Was -» was that done?
4 A. It was Sometime after he got sentenced. l 4 A. To my knowledge that was done.
5 don't remember the exact date when I found that out. 5 Q. Okay. We're going to come back to that, You
6 Q. Okay. What have you learned about what 6 think that was done on the same date, June 12th?
7 Officer Marshall reported? 7 A. I believe it was. I'm not a hundred percent
8 A. I knew that his wife had took off her wedding 8 on it, though.
9 ring and threw it at him at court during the 9 Q. Okay. Now, during the deposition of Mr.
10 sentencing. 10 Marshall, and you haven't had a chance to read that
11 Q. Uh-huh. 11 yet. We‘ll get a copy of that pretty quick. He also
12 A. And that whenever Marshall came back, he 12 indicated that there was one point in time that
13 notified either Gina Hutchinson -- Gina Hutchison or 13 Mr. Ernst reported that he just wishes a car would run
14 Lance Prout about his -- about what had happened at 14 over him. Did Adam Marshall ever tell you that
15 court, that he needed to be checked out, 15 Mr. Ernst had made that statement?
16 Q. Okay. Have you now learned that he actually 16 A. No. I dc not recall that statement.
17 reported that to three different individuals? 17 Q. The record goes on to say that he informed
18 MS. GOOCH: Object to the form. 18 Deputy Prout and Lieutenant Hutchison that he should
19 THE WITNESS: l don't recall exactly who he 19 have been placed on suicide watch or be checked by
20 reported it to. 20 medical. When I talked to Adam Marshall, he indicated
21 Q. (BY MR. WALSH) Well, you read the 21 that these were actually three separate conversations
22 supplemental report that Officer Marshall prepared, 22 that he had, that he went up the chain because of his
23 didn't you? 23 concerns about Mr. Ernst. Did you ever talk to Deputy
24 A. l have at one time. Yes. 24 Prout about any actions that he took when he was
25 Q. Officer Marshall indicates in that report 25 informed by Adam Marshall of his concerns?
98 100
l he -- matter of fact, let's just look at that report. 1 A. No. And if I may go back to about the
2 (OEf-the-record discussion.) 2 conversation with Boomer?
3 Q. (BY MR, WALSH) In the -- in the supplemental 3 Q. Yes.
4 report that I have about Marshall, he talks about on 4 A. Just recently he told me that he had referred
5 June llth of 2014, I, Deputy Adam Marshall, a 5 Ernst to medical and that's when Prcut took over at
6 certified deputy for Creek County Sheriff's Office, 6 that point.
7 was assigned to the jury trial in Bristow, Oklahoma, 7 Q. Okay. So Boomer Jones was aware that Prout
8 located in Creek County. During the trial, Mr. 8 had been consulted?
9 Ernst's wife approached him from a distance and tossed 9 A.| It was my understanding from Boomer that he
10 her wedding ring at Ernst and stated he didn't need it 10 had spoke to Prout about it.
11 anymore. 0n June 12th, at approximately 1300 hours, 11 Q. Okay.
12 Mr. Ernst was found guilty on four counts of 12 A. Which would have been Boomer‘s next level
13 manslaughter in the first degree and sentenced to 38 13 supervisor or next in chain of command.
14 years in the department of corrections. I could tell 14 Q. What did Prout do about the conversation that
15 that Ernst was emotional and upset. When Ernst and l 15 he had with Boomer Jones?
16 got back to the jail, I told shift supervisor, 16 A. From what Boomer Jones told me was that Prout
17 Corporal Boomer Jones, that he should have Ernst 17 either -- I don't recall what exactly he said. He
18 checked and watched. Have you ever talked to Boomer 18 told me, but I don't remember the -~ the wording of
19 Jones about any conversation that he had with Adam 19 it. l don't want to get it misconstrued here.
20 Marshall? 20 Q. Okay.
21 A. No, l have not. 21 A‘ I mean, Boomer said that either Prout either
22 Q. At the time that the transport officer 22 took him to medical or said that he -- that he talked
23 reported this to Corporal Eoomer Jones, what should 23 to him and said he was okay. I don't remember exactly
24 Boomer Jones have done? 24 what was said. Like l said, I don't know ~-
25 A. Should have been referred to medical and 25 Q. Okay. Someone --
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101 103
l A. -~ the conversation between Prout and Boomer. l A. I knew she was either a LPN or RN. l didn't
2 Q. When a deputy has expressed concern that 2 know which. l knew she was a nurse. l didn't know
3 someone should be placed on suicide watch or taken to 3 what status She held.
4 medical, l mean, would it be appropriate for that 4 Q. She would not be considered the mental health
5 officer to just talk to the inmate himself and make a 5 professional for the Creek County facility, would she?
6 determination that no, nothing needs to be done here? 6 MS. GOOCH: Object to the form.
7 A. No. That's -~ that should be addressed by 7 THE WITNESS: No.
8 medical. 8 Q. (BY MR. WALSH) I mean, with the report that
9 Q. Uh-huh. 9 0fficer Marshall is making, would it be your
10 A. If we recognize a concern, then it needs to 10 expectation, as the jail administrator, that Mr. Ernst
11 go to medical for a -‘ more of a professional medical 11 would have been seen by the medical health care
12 evaluation. 12 professional as a result of those statements?
13 Q. And you're uncertain at this point whether 13 A. It would be my expectation to be placed on
14 Prout told you that he actually talked to Ernst? 14 suicide watch until he had seen mental health.
15 A. I have never talked to Prout about that. 15 Q. That did not happen, did it?
16 Prout is no longer with us. Hasn't been with us for 16 A. No.
17 quite sometime, 17 Q. Nurse Hibbert did talk to Mr. Ernst on the ~‘
18 Q. Where is he now? 18 on June 12th. Do you know where that conversation
19 A. I believe he -- the last 1 heard he's the 19 took place?
20 assistant chief in Chelsea. 20 A. I do not.
21 Q. Did he leave on good terms? 21 Q. Do you know if Mr. Ernst was ever taken to
22 A. He resigned and I believe -~ l don't believe 22 medical?
23 he even gave any notice when he resigned. 23 A. It was my understanding he was seen in
24 Q. Okay. But, l mean, did he leave in good 24 medical or in the booking area before he was returned
25 standing with the department? 25 to his cell.
102 104
l A. Yes. 1 Q. Is the booking area and medical the same?
2 Q. Okay. And then he says he talked to Gina 2 A. They're in the same area. Yes. It‘s -- the
3 Hutchison. Did you ever talk to Gina about any 3 medical office is in the intake area.
4 conversations that Officer Marshall had with her? 4 Q. Okay,
5 A. Not until just recently. 5 A. They have their own office just to the side
6 Q. What did you two talk about? 6 of the intake area.
7 A. This is when the conversation came up with 7 Q. Did you ever talk to Nurse Hibbert about her
8 myself, Boomer and Gina Hutchison. 5 conversation with Mr. Ernst?
9 Q. Okay. Did Gina Hutchison tell you that she 9 A. No, I did not.
10 did anything in response to that conversation? 10 Q. If l told you that Pam Hibbert just simply
11 A, If l recall correctly, it was that Prout was 11 walked by and stood next to Mro Ernst and talked to
12 handling the situation or was supposed to handle the 12 him for a couple minutes, would that be the type of
13 situation. 13 assessment that you as the jail administrator would
14 Q. Okay. In this report, if there had been 14 have expected to take place?
15 another statement made by Mr. Ernst that 1 just wish 15 A. No.
16 some car would run over me, should that information 16 Q. Tell me the assessment that you would have
17 have been documented and reported as well? 17 expected to take place based upon what Mr. Marshall
18 A. Correct. 18 had reported.
19 Q. Now, there is a late entry. Have you seen 19 A. l would expect him to be placed on suicide
20 the late entries that Pam Hibbert prepared in the 20 watch with the on duty medical staff talking to him
21 medical file? 21 but not released from suicide watch until cleared by
22 A. I remember seeing them briefly. l don't 22 mental health.
23 recall what they stated though. 23 ~ Q. ln fact, is it mental health that can release
24 Q. Do you understand that Pam Hibbert is a 24 a person from suicide watch or is it only the
25 licensed practical nurse? 25

physician that can do that?

 

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105 107
1 A. The mental health and/or physician. 1 A: That's correct.
2 Q. You think a master’s in social work could 2 Q. When we were talking about when people were
3 make a determination as to whether or not someone was 3 most susceptible, we talked about the first 24 hours.
4 over any suicidal ideations? 4 You talked about when they get sentenced or a verdict
5 MR. MCMILLIN: Object to the form. 5 comes back against them. You understand that there is
6 THE WITNESS: I'm not sure what her 6 a heightened risk of suicides in inmates at that time;
7 qualifications exactly were. 7 correct?
8 Q. (BY MR. wALSH) I'm telling you that that's 8 v A. Correct.
9 what it is; 9 Q. You also understand when there are changes in
10 A. In social work l would not think so. 10 interpersonal relationships that inmates have that
11 Q. l mean, if you really want to provide help ll that can lead to an increase in suicide risk, can‘t
12 for the inmates, the inmates need to be seen by people 12 it?
13 that are competent and trained in mental health 13 A. 1 would think so. Yes.
14 issues; correct? 14 Mr. Ernst had just received what would amount
15 A. I agree. 15 to a life in prison sentence as a result of his
16 MS. GOOCH: Object to the form. 16 offense, hadn't he?
17 MR. MCMILLIN: Object to the form. 17 A. ¥es.
18 Q. (BY MR. WALSH) You understand a psychiatrist 18 MR. MCMILLIN: Object to the form.
19 would be that type of individual, wouldn't he? 19 Q. (BY MR. WALSH) He had had a change in an
20 A. Yes. 20 interpersonal relationship, hadn’t he?
21 Q. A psychologist would be that type of 21 A. Yes,
22 individual, wouldn't he? 22 Q. Mr. Ernst was at a heightened risk of
23 A. l would think so. 23 suicide, wasn't he?
24 Q. Other than those two, can you think of 24 A. Could be said so. Yes.
25 anybody else that would be trained and competent to- 25 Q. And as you sit here now, you know that no one
106 108
1 deal with mental health issues and suicidal ideations 1 other than an LPN talked to him; correct?
2 of an inmate in a prison setting? 2 A. Correct.
3 A. Not to my knowledge. 3 4 MR. MCMILLIN: Object to the form.
4 MR. MCMILLIN: Object to the form. 4 Q, (BY MR. WALSH) Mr. Ernst, when we were
5 Q. (BY MR. WALSH) There is another late entry 5 talking about deliberate indifference, not doing what
6 that Nurse Hibbert does about a conversation on June 6 you need -- know you need to do, that occurred with
7 13th where she once again stands there and talks to 7 Mr. Ernst in not being properly assessed and evaluated
8 Mr§ Ernst, asks him how he's doing, that he says he's 8 based upon what had just occurred with him, didn‘t it?
9 feeling ~~ I'm fine. l had an okay night. That he's 9 MR. MCMILLIN: Object to the form.
10 making good eye contact with staff, voices no 10 MS. GOOCH: Object to the form.
11 complaints or concerns. Do you recall reading that 11 THE WITNESS: l think there is other things
12 late entry at any time? 12 that could have -- should have happened.
13 A. I remember seeing it. 1 don't recall what -~ 13 Q. (BY MR. WALSH) well, we talked about not
14 at what time l seen it but... 14 doing the things you know you need to do; correct?
15 Q. Okay. My understanding is this was not even 15 Al The nurse should have put him on other
16 prepared until after Mr. Ernst had committed suicide; 16 precautions.
17 is that your understanding? 17 Q. He should have been put on suicide risk
18 A. Right. Now -~ I mean, l remember seeing it, 18 shouldn't he?
19 but it was after his death. 19 A. Correct.
20 Q. In the -~ in the training that you have had 20 Q. And he should have been put on suicide risk
21 on prevention of suicide, have you ever been taught 21 until he was checked out by the physician, shouldn't
22 that people that once they have formulated a plan for 22 he?
23 suicide, that they can become at ease with what they 23 MS. GOOCH: Object to the form.
24 are going to do and not have outward signs or symptoms 24 MR. MCMILLIN: Object to the form.
25 of suicidal ideations? 25 THE WITNESS: By the physician or mental

 

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Paqes 105 to 108

 

 

 

 

 

 

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109 111
1 health, which -- 1 duty nurse that was there or the head nurse would be
2 Q. (BY MR. WALSH) 0nly mental health could make 2 there. Sometimes Gina Hutchison would be there as
3 those determinations; correct? 3 well and sometimes it was just Gina Hutchison with
4 A. Correct. 4 them versus me as well,
5 Q. And at this point, you don't know whether 5 Q. Okay. And you said that you would spot check
6 mental health could make those determinations, do you? 6 about 10 of the charts and look at them?
7 MS. GOOCH: Object to the form. 7 A, Roughly, yes.
8 THE WITNESS: No. 8 Q. How long would these meetings take?
9 Q. (EY MR. WALSH) So the only person that was 9 A. Maybe 45 minutes, maybe to an hour.
10 at that facility that could have come close to making 10 Q. Did you ever express any concerns to the
11 that type of determination would have been the doctor? 11 regional director that the inmates were not getting
12 MR. MCMILLIN: Object to the form. 12 appropriate medicationa?
13 Q. (BY MR. WALSH) Fair statement? 13 A. Yes.
14 MS. GOOCH: Object to the form. 14 Q. What medications were you concerned that they
15 THE WITNESS: From what I know, yes. 15 were not getting?
16 Q. (BY MR. WALSH) How often did you see the 16 A., I don't recall specifically. 1 just -~ that
17 doctor at the facility? 17 inmates would say they were not getting their meds or
18 A. 1 didn't see him very often. He normally 18 *- and when I would ask, it would be, well, we're out,
19 came in later in the evening. 19 They're on order.
20 Q. Didn't you learn from your staff that it was 20 Q. Did you ever have any concerns of any
21 rare that he would come by? 21 psychotropic medications that were not being given to
22 A. I think he was there every -- every two to 22 inmates that were in need of them?
23 three weeks. 23 A. 1 don't understand. Are you meaning that --
24 Q. Was he there or his PA there every two to 24 if they were out or they were just not giving them
25 three weeks? 25 period?
110 112
1 A. I really can't answer, I know if I was 1 Q. Not giving them period.
2 there, l would see him occasionally. 2 A. I'm not a ~~ I'm sorry. Repeat it one more
3 Q. Would you see the PA much more frequently? 3 time for me.
4 A. She was there more during the daytime. Yes. 4 Q. Okay. Did you ever express any concerns to
5 . Q. Was it a she or a he? 5 the regional director that psychotropic medications
6 A. l want to say it was a female, the one that 6 were not being given to inmates that were in need of
7 I'm aware of. 7 those medications?
8 Q. This was with ACH? 8 A. I don't remember specifically what
9 A. Yes. 9 medications they were.
10 Q. Now, we talked about the quarterly meetings 10 Q. Okay. You indicated that there was a letter
11 that you had where they would send down the regional 11 that was written concerning dissatisfaction that the
12 director, you would be there. Was the doctor ever 12 facility had with ACH. When was that letter written?
13 there during these meetings? 13 A. There was one letter written that their
14 Al No. 14 services would no longer be needed. That was, 1 want
15 Q. Was the PA there ever present during these 15 to say, in June.
16 meetings? 16 Q. June of 2014?
17 A. Not that I recall. No. 17 A. 20‘ -- of 2015.
18 Q. Was Amanda Spriggs present during any of 18 Q. What was the reason given for why their
19 these meetings? 19 services would no longer be needed?
20 A. 1 think she was on site occasionally, but not 20 A. Eecause we were putting it out for bid. We
21 directly involved, but there. 21 were dis -- dissatisfied with them.
22‘ Q. Okay. So the regional director was there, 22 Q. Why were you dissatisfied?
23 you were there for those quarterly meetings, who else 23 A. That they weren“t doing intakes in a timely
24 would be there each time for these quarterly meetings? 24 manner. That if they were out of meds, the staffing
25 A. At times the nurse would be there, the on 25 issues.
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l that the family has brought, that would mean that they 1 Q. (BY MR. WALSH) lt was signed by an LPN. Do
2 had gone through all of those steps; correct? 2 you know what authority an LPN would have to make the
3 A. Correct. 3 determination that a patient wasn't going to get
4 MS. GOOCH: Object to the form. 4 medication that had been prescribed?
5 Q. (BY MR. WALSH) Mr. Ernst continued to 5 A. I do not.
6 receive this medication through -» he started in 6 Q. On January 10th of 2014, there was a request
7 September. In September, October and November he 7 to staff. Request to see psychiatrist. The
8 received both the Remeron, as well as the Gabapentin, 8 disposition is, we do not offer counseling. Was that
9 according to the MAR reports. You have any -- I'm 9 the policy and procedure of Creek County that they did
10 just telling you that; okay? 10 not offer counseling?
11 A. Right. Okay. ll A. No.
12 Q. Remeron was then stopped in December. When 12 Q. On January 16th, another request. Have sent
13 you reviewed his medical file, did you find any 13 several requests to staff to see psychiatrist. Once
14 notations as to why Remeron was stopped? 14 again, the disposition is, we do not offer counseling.
15 A. 1 don't recall any. 15 You said that if an inmate had made repeated requests,
16 Q. This is ACH 51, request to staff. This went 16 and you gave me the number two, and they could not do
17 to medical. The inmate reports that he's having 17 what the -~ what the inmate indicated, that you would
18 trouble sleeping because of nightmares, requests to be 18 expect to see those requests to staff; correct?
19 able to take my Mirtazapine that my family brought to 19 A. I would expect to. Yes.
20 help me sleep. Request that I be given my prescribed 20 Q. Did you ever receive these requests to staff
21 medication. The disposition of this is, we can’t give 21 that took place on January 10th and January 16th?
22 Remeron here anymore and there isn't a substitute. 22 A. Not that I recall. No.
23 Did the facility ever tell ACH that they could not 23 Q. If you had seen those requests to staff, what
24 give Remeron? 24 would you have done?
25 A. No. 25 A. We would try to get him an off-site
122 124
1 Q. You talked about they had their own policies 1 appointment or figure out what we could do,
2 as to medications that they would give. 2 Q. An off-site appointment was an option, wasn't
3 A. There was a formulary. Yes. 3 it?
4 Q. ln that formulary, you would expect it to 4 A. Yes, it is.
5 conform with the policies and procedures of ACH, 5 Q. Giving the Remeron medication was an option,
6 wouldn't you? 6 wasn't it?
7 A. Yes, I would. 7 A, Yes.
8 Q. And we already looked at the controlled 8 Q. As early as October lst of 2013, he had
9 policy and procedure for the giving of medications, 9 requested to see a psychiatrist and once again the
10 didn‘t we? 10 disposition is Creek County does not provide
11 A. Correct. 11 individual counseling to inmates. Once again, that is
12 Q. And there is no medication that is 12 not a true statement, is it?
13 specifically stated that you can't give in that policy 13 A. No.
14 and procedure, is it? 14 MS. GOOCH: 'Object to the form.
15 A. No. 15 Q. (BY MR. WALSH) We had talked about that
16 Q. In fact, it says that if it's ordered by a 16 January 29th request to,staff where he requested to go
17 doctor that you can give the narcotic medication, 17 to CREOKS Mental Health and the disposition didn't
18 can't you? 18 address CREOKS, but it said no Remeron. On January
19 A. Correct. 19 23rd is when they made the comment that Remeron was
20 Q. For them to make the statement that Remeron 20 not available, was no longer given at this facility
21 is not given here anymore, where did they get that 21 no substitute available. So we now have two instances
22 information? 22 where he's requested a specific medication. Did you
23 MS. GOOCH: Object to the form. 23 ever get copies of these requests to staff?
24 THE WITNESS: 1 don't know where. Would have 24 A, No.
25 to ask whoever signed that, 25 Q. There is a request form where he states they
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1 no longer will give me medicine for my Crohn's. Were l Q. Do you know what his qualifications are?
2 you ever advised of that request? 2 A. 1 do not.
3 A. No. 3 Q. Are you going to go find out today?
4 Q. There is a request made on September 5th of 4 A. It's a good idea. Yes.
5 2013. l have requested my pain meds. The disposition 5 MR. WALSH: Let's take a break here for a
6 is, no narcotics are given at this facility. Once 6 little bit. Okay?
7 again, the deposition that no narcotics are given at 7 (Break taken from 10:49 a.m. to 12 p.m.)
8 this facility was not a correct statement, was it? B Q. (BY MR. WALSH) How were you notified that
9 A. Correct. 9 Mr. Ernst had committed suicide?
10 Q. If you had at any time taken a look at these 10 A. By telephone.
11 requests to staff and there are numerous requests to 11 Q. Who told you?
12 staff that we had just gone through; correct? 12 A. 1 believe it was the supervisor that called
13 A. Yes. 13 me, the shift supervisor at night. I want to say it
14 Q. And you had seen these repeated requests, 14 was Kyle Masters, but I'm not a hundred percent sure
15 would you have gone and talked to the doctor about 15 who it was.
16 this? 16 Q. ls Kyle Masters still working with you?
17 A. § probably would not talk to the doctor. l 17 A. Yes~
18 would have called the regional office -- or the main 18 Q. Did you respond in any way or go to the jail
19 off -- the corporate office. 19 and look at the scene?
20 Q. What would you have told the corporate 20 A. I went to the jail immediately.
21 office? 21 Q 'Did you look at the video?
22 A. l would have asked why he's not getting his 22 A. Yes.
23 meds and why he's not getting his appointments. 23 Q What was Mr. Ernst doing out of his cell at
24 Q. If you had looked and seen that Remeron, in 24 this time?
25 fact, had been prescribed for a three-month period and 25 A. It was -- that he went to the shower area.
126 128
1 now they're suddenly saying that we don't give 1 Q. You understand he went to the shower area
2 narcotics and we don't give Remeron, what would you 2 sometime at three in the morning?
3 have wanted to know in your questioning of them about 3 A. Correct.
4 that? 4 Q. Why was he out at that time?
5 A. Who changed it? Why wasn't we notified and 5 A. If his -- those cell doors are locked down,
6 why are we not trying to find a substitute? Why can't 6 The housing unit that he is in is locked down at
7 he have it if that's what he's prescribed and that's .7 eleven o'clock at night. If for some reason that
8 been verified? their door does not function properly, that door is
9 Q. And would you have also wanted to know who is 9 left unsecured for emergency reasons.
10 your outside psychiatrist or psychologist that we‘re 10 Q. Was the door not working properly at -~
11 going to use to help treat these patients? 11 during this time?
'12 A. Yes. 12 A. Correct. That door was -- had a bent -- l
13 Q. And I take it, those issues never came up at 13 believe it had a bent hinge on it where it would not
14 any time with any inmate during the time that ACH had 14 properly secure.
15 that contract? 15 Q. Okay. Are they supposed to be out at this
16 A. Correct. 16 time, the inmates?
17 Who is the contract with now? 17 A. No.
18 A. Turn Key Medical. 18 Q. Do you have any additional guards that you
19 Is it the same coverage with Turn Key? 19 post in that area knowing that you have a piece of
20 A. The hours are the same with the exception of 20 equipment that isn‘t working properly?
21 with ACH, they didn't work holidaysl With Turn Key, 21 A. No, because they're ~~ it‘s their cell door
22 they do. 22 and they're in a day room during the day anyway, so
23 Q. Do you know who the mental health v23 they're not a security risk,
24 professional is that Turn Key uses? 24 Q. But they certainly could be a risk to
25 A. I do not know his name. No. I don't know. 25 themselves if they have suicidal ideations, if they
birch

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